Case 2:04-cV-02755-.]DB-tmp Document 21 Filed 06/09/05 Page 1 of 7 Page|D 38

Ff!'..ED S'.r.
lN THE UNlTED STATES DISTRICT COURT ~-~. D_C,
FOR THE WESTERN DISTR.ICT OF TENNESSEE 05 JU;! bg

 

WESTERN DrvisioN PH 141 31
F
GF;i-l§'r m aj EHOUO
mr ‘C‘,;_i§§$` marc g-r_
osLo CoLE, 1 1111111111.13'
Plaintiff,
v. Case No.: 2104cv2755-B/P

YOUTH. VILLAGES, lNCORPORATED,

Defendant.

 

JOINT PROTECTIVE ORDER

 

Plaintiff, Oslo Cole, and Def`endant, Youth Villages, Inc. (“Youth Villages”), agree that this
action may involve the confidential personnel information of employees of Youth Villages, and other
confidential and/or proprietary inforrnation, documents and things belonging to Youth Villages.
Accordingly, pursuant to Rule 26(0) of the Federal Rules of Civil Procedure and by stipulation of
the parties, and in order to expedite discovery and to protect the confidential status of the parties’
information, documents and things,

IT IS ORDERED THAT the following provisions and conditions shall apply to all
docurnerits, things, answers responses and information produced or filed by, or obtained from "r’outh
Villages, Plaintiff or any other person or entity (including, but not limited to, documents produced,
answers to interrogatories, responses to requests to admit, deposition testimony and transcripts,
motions, briefs and affidavits) in the above-captioned matter:

l . To protect confidential personnel information and proprietary information, the parties
may designate documents, things, answers, responses or information produced in discovery, and any

documents referring to such material or derived therefrom, to be confidential and subject to the

Ttn's document entered on the docketsheat Ln compliance
with Hule 58 and/or 79{3) F;q(;p on "" \,_c:

 

Case 2:04-cV-02755-.]DB-tmp Document 21 Filed 06/09/05 Page 2 of 7 Page|D 39

provisions of this Order. This Order shall also apply to documents, things, answers, responses,
testimony or other information regarding which the parties claim confidential status and, as such,
this Order shall apply to the Plaintiff in the same manner as to Youth Vi]lages.

2. Documents, things, answers, responses or information for which confidential status
is claimed by the parties (“Confrdential l\/laterial”), shall if in documentary form, be stamped or
designated "Confidential" and maintained in confidential status subject to the provisions of this
Order. Any Confidential Material filed with the Court shall be filed under seal and shall not be
opened without further order of the Court. The envelope in which such Confidential Materi al is filed
shall be marked “‘Confidential: Subj ect to the terms of the Protective Order date - ,( § ”
prominently on the front and back. One copy of any Confi dential Material filed With the Court shall
be furnished to opposing counsel

3. Except as otherwise provided herein, Confidential Material shall be used solely for
the prosecution and defense of the claims in this action, and, unless the court for good cause shown
rules otherwise, Confidential l\/laterial shall not be disclosed to any person other than the Court and:
(a) judicial officers and personnel (including stenographic reporters and members of the jury); (b)
counsel of record in this action and members and associates of their law firms or organization; (c)
the clerical and paralegal staff of counsel of record in this action employed during the preparation
for and trial of this action; (d) persons retained by counsel of record to furnish expert services or
advice or to give expert testimony in this action', and (e) the parties to this action. Confidential
Materi al disclosed under this paragraph to any such person shall not be disclosed to any other person
not included within subparagraphs (a) through (e) of this paragraph 3.

4. Before any Confrdential Material is disclosed to any person as permitted in

subparagraphs 3(d) and (e) hereof, such person Wi]l have read this Order and agree to be bound by

Case 2:04-cV-02755-.]DB-tmp Document 21 Filed 06/09/05 Page 3 of 7 Page|D 40

its terrns, and prior to the disclosure of any Confidential Material to any person encompassed by
subparagraph 3(d) counsel shall obtain from such person a signed statement in the form attached
hereto as Exhibit A, attesting to the fact that the person to whom the Confidential Material is
disclosed has read and understands, and will comply with, the terms of this Protective Order. Said
statement shall be made available to opposing counsel upon request after opposing counsel becomes
aware that Confidential Material was disclosed to the person Who signed the statement At the
conclusion ofthe litigation, the parties will exchange all affidavits executed pursuant to this Order,

5. All depositions taken in connection with the prosecution and defense of this action
may include confidential information In that event, upon proper notice to opposing counsel, only
the court reporter, the deponent, the parties and their respective representatives and counsel and
persons bound by paragraphs 3 or 4 of this Order may be present during any deposition

6. The transcript and exhibits of a deposition maybe designated as Confidential Material
and subject to the terms and restrictions of this Order.

7. Confidential Material may be disclosed to a witness at his or her deposition if the
deponent is not otherwise bound by paragraphs 3 or 4 of this Order only if the deponent (and if
represented by counsel, his or her counsel) is informed prior to the disclosure of Confidential
Material of the terms of this Order and that material designated as "Confidential" pursuant to this
Order is about to be disclosed and if the deponent agrees to comply with the terms of this Order. In
such event, only the reporter, the deponent, his counsel, the parties and their respective
representatives and counsel and persons bound by paragraphs 3 or 4 of the Order may be present
during the disclosure or discussion of Confidential Material.

8. Nothing contained in this Order shall affect the right of either party to make any

objection, claim or other response to interrogatories requests to admit, requests for production of

Case 2:O4-cV-O2755-.]DB-tmp Document 21 Filed 06/09/05 Page 4 of 7 Page|D 41

documents or to any questions at deposition At any time, upon motion duly served and filed, either
party may bring before the Court the question of whether or not this Order should be restricted,
enlarged or otherwise modified, generally, or with respect to specific items of information or specific
persons

9. Ifeither party or its counsel is served with a subpoena for any Confidential Material,
the person so served shall give to opposing counsel seven days' notice, or reasonable notice if the
time for compliance with the subpoena is seven days or less after service, before producing the
Confidential Material demanded in the subpoena

l(). Upon final termination of this action, all persons subject to this Order shall return all
Confidential material (and all documents containing information referring to or derived therefrom),
including all copies thereof (except privileged communications or attorney work product) to
opposing counsel. At that time, counsel shall certify to opposing counsel that all such documents
or materials with respect to which a claim of privilege or work product protection is asserted have
been destroyed. Such certification shall be made within a reasonable time after termination of the
action.

l l . Nothin g in this Order shall prejudice Defendant's right to make any use of, or disclose
to any person, any material ithas designated as Confidential Material, during the course of its normal
business operations, without prior court order, or to waive the provisions of this Order with respect
to any Confidential Material. Nor shall anything in this Order prevent or affect the right of any party
to use any Confidential Material at any trial or at any depositions provided that any such use is in
accordance with the provisions of paragraphs 3 through '1‘ of this Order.

12. Through counsel, the parties may agree to any specific disclosure of Confidential

l\/laterial (or any information contained therein or derived therefrom) in a particular circumstance

Case 2:O4-cV-O2755-.]DB-tmp Document 21 Filed 06/09/05 Page 5 of 7 Page|D 42

without prejudice to the continued application of this Order as to the use of that document or thing.
l 3. lnadvertent disclosure of Confidential Material (or any information contained therein
or derived therefrom) shall not be deemed to waive any of the rights provided herein.
14. Nothing in this Order, or any designation or declaration pursuant to this Order, shall
constitute, or be used by any party as an “admission by party opponent.”
15. This Order shall continue in effect after the termination ofthe above-captioned action.
Respectfully submitted,
LEWlS FISHER HENDERSON
CLAXTON & MULROY, LLP
6410 Poplar Avenue, Ste. 300
l\/Iemphis, TN 38119

Telephone: (901)767-6160
Facsimile: (901)767-7411

@Q/QU treaty/11

Ke]ly S. Gooch d

ATTORNEY FOR DEFENDANT

LAW OFFICE OF EMMA COLE

2693 Union Avenue Extended, Ste. 200
Memphis, TN 381 12

Telephone: (901) 327-?977

§"acsirnile: (901) 327-7445

§fnma Cole

ATTORNEY FOR PLAINTIFF

Case 2:O4-cV-O2755-.]DB-tmp Document 21 Filed 06/09/05 Page 6 of 7 Page|D 43

nw

l\/Iagi.strate Judge Tu M. Pham
United States District Court

SO ORDERED:

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02755 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Kelly S. Gooch

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

l\/lemphis7 TN 38119

Emma Cole

LAW OFFICE OF El\/[MA COLE
2693 Union Ave.7 Extd.

Ste. 200

l\/lemphis7 TN 38112

Honorable .1. Breen
US DISTRICT COURT

